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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar # 161566
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     FEROZA BHAMANI
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               CASE NO. CR-S-10-327 MCE
                                           )
12                     Plaintiff,          )
                                           )               WAIVER OF DEFENDANT’S PRESENCE
13         v.                              )
                                           )
14                                         )
     FEROZA BHAMANI,                       )
15                                         )
                       Defendant.          )
16   _____________________________________ )
17          Pursuant to Fed.R.Crim.P. 43, defendant, FEROZA BHAMANI, hereby waives the right to be present
18   in person in open court upon the hearing of any motion or other proceeding in this case, including, but not
19   limited to, when the case is set for trial, when a continuance is ordered, and when any other action is taken by
20   the Court before or after trial, except upon arraignment, initial appearance, trial confirmation hearing, entry
21   of plea, and every stage of trial including verdict, impanelment of jury and imposition of sentence.
22          Defendant hereby requests the Court to proceed during every absence of hers which the Court may
23   permit pursuant to this waiver and agrees that her interests will be deemed represented at all times by the
24   presence of her attorney, the same as if the defendant were personally present. Defendant further agrees to
25   be present in Court ready for trial any day and hour the Court may fix in her absence.
26   ///
27   ///
28   ///
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 1          Defendant further acknowledges that she has been informed of her rights under Title 18 U.S.C. §§
 2   3161-3174 (The Speedy Trial Act) and authorizes her attorney to set times and delays under that Act without
 3   her personal presence.
 4   Dated: May 31, 2012
 5                                                         /s/ Feroza Bhamani
                                                         FEROZA BHAMANI
 6                                                       (Original retained by attorney)
 7
 8          I concur in Mrs. Bhamani’s decision to waive her presence at future proceedings.
 9   Dated: May 31, 2012
10                                                       /s/ Matthew C. Bockmon
                                                         MATTHEW C. BOCKMON
11                                                       Assistant Federal Defender
                                                         Attorney for Defendant
12                                                       FEROZA BHAMANI
13
14          IT IS SO ORDERED.
15
16    Dated: June 4, 2012

17                                                    ________________________________
                                                      MORRISON C. ENGLAND, JR.
18                                                    UNITED STATES DISTRICT JUDGE
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